Case 3:25-cv-01766-EMC   Document 147-2   Filed 05/23/25   Page 1 of 2




                          Exhibit B
                Case 3:25-cv-01766-EMC           Document 147-2          Filed 05/23/25     Page 2 of 2
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    Department of Homeund Security                                    storm #                . Senior Liaison Officer: :
                                                                                               Lawrence Indyk          i
    Record of Clearance and Approval                               25-07092
 Lead Component: MGMT-SE                    Date Submitted to SI FO: 1/28/25       Draft Received Date: 1/28/25


 Summary of Document:51 Action Memo - USCIS Notice: Vacatur of January 10,2025 Temporary
 Protected Status Decision for Venezueu


 Attachments:
 a. Decision Document
 B. Package from January 10,2025-Draft Federal Register Notice
 C. Package from January 10,2025-Temporary Protected Status Legal Authority
 D. Package from January 10,2025- USCIS Country Conditions Report
 E.Package from January 10,2025-
                               - DOS Recommendation and Country Conditions
 F.Package from January 10,2025- D1 Memo
 G. Package from January 10,2025- Federal Register Notice dated January 17,2025
 H. Package from January 10,2025-Decision Document signed January 10,2025


        Office                   Signature               Date                             Comments



 Senior Advisor
                                  Cleared              1/28/25
 (Robert Law)



 Senior Advisor
                                  Cleared              1/28/25
 (Jimmy Percival)



 Senior Advisor
                                  Cleared              lf2S/2S
 (TroupHemenway)




 Senior Advisor                                                   -




 (Troy Edgar)




 AS2




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 After review return to:                                                                  Telephone
 Nancy Clark, Executive Secretariat                                                       202-282-9397


Approved for Autopen:      Yes        No            NTPSA_000003
                                             Date and Initials for Autopen Approval:                               □□
